                       UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW HAMPSHIRE

__________________________________________
                                          )
In re                                     )               Chapter 11
                                          )               Case No. 20-10892- MAF
LRGHEALTHCARE,                            )
                                          )
             Debtor.                      )
__________________________________________)

                     NOTICE OF APPOINTMENT OF OFFICIAL
                     COMMITTEE OF UNSECURED CREDITORS

        William K. Harrington, United States Trustee for Region 1, pursuant to Section

1102(a) of title 11, United States Code, hereby appoints the following unsecured creditors

that are willing to serve on the Official Committee of Unsecured Creditors of

LRGHealthcare:

        1. Boston Scientific Corporation
           300 Boston Scientific Way
           Marlborough, MA 01752
           ATTN: Janine Karwacki, Manager
           Telephone: (508) 382-0252
           Email: Janine.Karwacki@bsci.com

        2. Cardinal Health 200, LLC, Cardinal Health 414, LLC
           7000 Cardinal Place
           Dublin, OH 43017
           ATTN: Michael Anderson, Credit Manager
           Telephone: (614) 687-5926
           Email: michael.anderson06@cardinalhealth.com

        3. Osseus Fusion Systems, LLC
           1931 Greenville Ave., Ste 200
           Dallas, TX 75206
           ATTN: Robert Pace, CEO
           Telephone: (214) 395-0100
           Email: rpace@osseus.com




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      4. Public Service Company of New Hampshire d/b/a
         Eversource Energy
         107 Selden Street
         Berlin, CT 06037
         ATTN: Honor S. Heath, Esq.
         Telephone: (860) 665-4865
         Email: honor.heath@eversource.com

      5. Pension Benefit Guaranty Corporation
         1200 K Street, NW
         Washington, DC 20005
         ATTN: Michael Strollo
         Telephone: (202) 229-4907
         Email: strollo.michael@pbgc.gov




Dated: October 23, 2020                 Respectfully submitted,

                                        WILLIAM K. HARRINGTON
                                        UNITED STATES TRUSTEE

                                    By: /s/ Kimberly Bacher
                                        Kimberly Bacher, Trial Attorney
                                        Office of the U.S. Trustee
                                        53 Pleasant Street, Suite 2300
                                        Concord, NH 03301
                                        BNH07676




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this October 23, 2020, I caused to be served a copy of the
foregoing by CMECF to:


   •   Christopher M. Desiderio cdesiderio@nixonpeabody.com
   •   Thomas J. Donovan tom.donovan@doj.nh.gov, audrey.blodgett@doj.nh.gov
   •   Honor S. Heath honor.heath@eversource.com, honor.heath@hotmail.com
   •   Andrew Helman ahelman@mpmlaw.com,
       dmorse@mpmlaw.com;lgulino@mpmlaw.com
   •   I-Heng Hsu i-heng.hsu@usdoj.gov
   •   Lindsay Zahradka Milne lmilne@bernsteinshur.com,
       astewart@bernsteinshur.com;acummings@bernsteinshur.com;kquirk@bernsteinshur.co
       m;nmorrissey@bernsteinshur.com
   •   Rodney Morris rodney.morris2@usdoj.gov, i-heng.hsu@usdoj.gov
   •   Erik Newman erik.newman@eversource.com
   •   Morgan C. Nighan mnighan@nixonpeabody.com,
       akowalski@nixonpeabody.com;bos.managing.clerk@nixonpeabody.com
   •   Steven M. Notinger steve@notingerlaw.com,
       cheryl@notingerlaw.com;debbie@notingerlaw.com
   •   Rue K. Toland rtoland@preti.com, kbaker@preti.com




                                             /s/ Kimberly Bacher
                                             Kimberly Bacher




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